         Case 5:17-cv-04065-JAR Document 2 Filed 08/28/18 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                        DISTRICT OF KANSAS

                          JUDGMENT IN A CIVIL CASE


MARCUS D. ROBERSON,

                                  Petitioner,
                                                      CASE NO. 11-40078-02JAR
v.                                                    CIVIL NO. 17-4065-JAR

UNITED STATES OF AMERICA,

                                  Respondent.

( )    JURY VERDICT. This action came before the Court for a trial by jury. The
       issues have been tried and the jury has rendered its verdict.

( x)   DECISION BY THE COURT. This action came before the Court. The issues
       have been considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED that pursuant to the Order filed and entered on

August 27, 2018 (Doc. 849), Petitioner Marcus Roberson’s Motion to Vacate, Set Aside,

or Correct Sentence under 28 U.S.C. § 2255 (Doc. 817) is hereby DENIED without

evidentiary hearing; Roberson is DENIED a certificate of appealability.

       IT IS SO ORDERED

       Dated:    August 27, 2018


                                          TIMOTHY M. O=BRIEN, CLERK

                                          s/Bonnie Wiest
                                         Deputy Clerk
